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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                  CRIMINAL ACTION NO. 4:06CR124-P-D

CHARLES BARRETT MERRILL, ET AL.,                                             DEFENDANTS.

                                             ORDER

       These matters come before the court upon Defendant Charles Barrett Merrill’s Motion to

Expand Time for Opening Statement [229] and Defendant Jimmy Winemiller’s Motion for

Expansion of Time Allowed for Presentation of Opening Statement [224]. After due consideration

of the motions, the court finds that they should be granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Charles Barrett Merrill’s Motion to Expand Time for Opening Statement [229]

and Defendant Jimmy Winemiller’s Motion for Expansion of Time Allowed for Presentation of

Opening Statement [224] are GRANTED; accordingly,

       (2) Each defendant shall be allowed 30 minutes for opening statement and, upon request, the

Government shall also have a commensurate expansion of time.

       SO ORDERED this the 8th day of September, A.D., 2009.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
